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                       EXHIBIT 8B
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Introduction to Example Appendices A through F

INDIVIDUAL ECONOMIC LOSS CLAIMS: EXAMPLES

The following Appendices give examples of Individual Economic Loss Categories I-III. In each
example, the Compensation Period selected is the period between April 21, 2010 and December
31, 2010 that produces maximum Claimant Lost Earnings for that example. In each example,
Final Claimant Compensation for claimaints who establish causation depends primarily on the
following factors:

1. Components of Lost Earnings: Claimant Lost Earnings is calculated as the sum of two
   factors: (i) any decrease in earnings during the claimant selected Compensation Period
   compared to the same period(s) in the Base Year(s), and (ii) any expected growth in earnings
   during the same Compensation Period relative to the Base Year(s). Thus, the claimant
   selected Compensation Period is relevant for both factors, and claimants will want to
   consider both factors in selecting their Compensation Period.



2. Length and Duration Of Economic Loss (Compensation Period): Each claimant selects a
   period of loss (or Compensation Period) reflecting the period in which the claimant's Actual
   Earnings were less than Expected Earnings due to or resulting from the DWH Spill. The
   Compensation Period must consist of at least 90 consecutive days between April 21, 2010
   and December 31, 2010, and may extend for the entire period, at the claimant's election. In
   selecting a Compensation Period, claimant should be aware that any period when income
   (i) fell, (ii) stayed the same, or (iii) demonstrated a percentage increase lower than the
   applicable Growth Factor(s) (percentages), will result in Actual Earnings being less than
   Expected Earnings, and therefore a higher level of loss and compensation.


3. Location and Industry Of Economic Loss: Claimants incurring economic loss due to or
   resulting from the DWH Spill may also receive Risk Transfer Premium (RTP) compensation
   based upon the industry and location of their loss. The RTP is calculated as a multiple of the
   claimant's loss during the Compensation Period.




                                                                                                    028582
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Appendix A1
                 Example of Compensation Calculation: Category I Individual
Category I Individual with Pay Period Earnings Documentation: In this example, the claimant has passed the
causation requirements and provides Tax Information Documents demonstrating annual earnings, and also
provides Pay Period Earnings Documentation sufficient to establish monthly/pay period earnings, allowing for
the calculation of a Claimant Specific Growth Factor. This claimant was a salaried worker at a resort in Zone A
who lost his job at the end of September 2010. Because the claimant is a salaried worker, no Industry Growth
Factor is applicable.

Data Submitted by Claimant

                                                                                         2009           2010
  Annual Earnings per Tax Information Documents                                      $     61,500   $     47,250

  Pay Period Earnings
   January                                                                           $      5,000   $      5,250
   February                                                                          $      5,000   $      5,250
   March                                                                             $      5,000   $      5,250
   April                                                                             $      5,000   $      5,250
   May                                                                               $      5,000   $      5,250
   June                                                                              $      5,000   $      5,250
   July                                                                              $      5,250   $      5,250




                                                                                                                   ‐‐Compensation Period‐‐
                                                          ‐‐‐‐Benchmark Period‐‐‐‐




   August                                                                            $      5,250   $      5,250
   September                                                                         $      5,250   $      5,250
   October                                                                           $      5,250   $        ‐
   November                                                                          $      5,250   $        ‐
   December                                                                          $      5,250   $        ‐

Total Earnings                                                                       $    61,500    $    47,250

Step 1: Claimant Selects Compensation Period & Base Year
    Claimant has selected July 1, 2010 through December 31, 2010 as the Compensation Period, and chosen
    2009 as the Base Year.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period

    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length
    and dates corresponding to the Compensation Period. Given the selection in Step 1, the Benchmark Period
    earnings equal the earnings between July 1, 2009 and December 31, 2009, and are calculated as follows:

    Benchmark Period Earnings (July 1‐Dec 31, 2009)                                                 $    31,500




                                                                                                                                             028583
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Appendix A1
                 Example of Compensation Calculation: Category I Individual

Step 3: Determine Earnings Growth Factor(s)
    The Claimant has provided pay period detail, and a Claimant Specific Growth Factor can be calculated using
    January through April earnings in 2010 and the Base Year. Industry Growth Factor does not apply
    (Benchmark Period earnings are salaried).

                                                                    2009               2010
    January ‐ April Earnings                                    $     20,000 [a]   $     21,000 [b]

    Calculated Claimant Specific Growth Factor                                             5.0% [c]=([b]‐[a])/[a]
                    5.0% = ($21,000 ‐ $20,000)/$20,000
                      [c] = ([b] ‐ [a]) / [a]
    Claimant Specific Growth Factor (max of +10%, min of ‐1.5%)                            5.0% [d]

Step 4: Calculate Expected Earnings
    Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable
    Growth Factors (from Step 3).

    Benchmark Period Earnings (from Step 2)                                        $     31,500 [e]

    Claimant Specific Growth Rate (if applicable from Step 3)                              5.0% = [d]

    Industry Growth Factor (if hourly, see Step 3)                                          n/a [f]

    Expected Earnings for the Compensation Period                                  $    33,075 [g]=[e]*(1+[d]+[f])
                    $33,075 = $31,500 x (1 + 0.05 + 0)
                      [g] = [e] x (1 + [d] + [f])

Step 5: Determine Actual Earnings in the Compensation Period
    Actual Earnings in the claimant selected Compensation Period in this example includes all earnings between
    the period selected by the Claimant in Step 1, July 1, 2010 through December 31, 2010.

    Actual Earnings (July 1‐December 31, 2010)                                     $    15,750 [h]

Step 6: Determine Claimant Lost Earnings
    Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over
    the Compensation Period.

    Lost Earnings                                                                  $    17,325 [i]=[g]‐[h]
        $17,325 = $33,075 ‐ $15,750
          [i] =      [g] ‐ [h]




                                                                                                           028584
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Appendix A1
                Example of Compensation Calculation: Category I Individual

Step 7: Calculate Final Claimant Compensation
   Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium
   (Zone A Tourism= 2.5), then adjusted for any Employee‐Related Benefits Loss (assume $2,000), any
   Reimbursable Training & Search Costs (assume $500 each for training and search) and any Spill Related
   Payments (assume $3,000).

   Lost Earnings (Step 6)                                                   $     17,325 = [i]
 + Lost Earnings Multiplied by Other Industries RTP (2.5 in Zone A)         $     43,313 [j]=[i] x RTP
                  = $17,325 x 2.5
 + Employment Related Benefits Losses                                       $      2,000 Given above.
 + Reimbursable Training Costs                                              $        500 Given above.
 + Reimbursable Search Costs                                                $        500 Given above.
 ‐ Spill Related Payments                                                   $     (3,000) Given above.

   Final Claimant Compensation                                              $     60,638




                                                                                                    028585
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Appendix A2
                                         Example of Compensation Calculation: Category I Individual with Bonus

Category I Individual with Pay Period Earnings Documentation: In this example, the claimant has passed the causation requirements and provides Tax Information
Documents demonstrating annual earnings, and also provides Pay Period Earnings Documentation sufficient to establish monthly/pay period earnings, allowing for the
calculation of a Claimant Specific Growth Factor. This claimant was a salaried worker at a resort in Zone A who lost his job at the end of September 2010. Because the
claimant is a salaried worker, no Industry Growth Factor is applicable. The claimant's documentation indicated that the claimant received a bonus in March 2009 related
to calendar year 2008, and a bonus in March 2010 related to calendar year 2009. Because the claimant lost his job, no bonus was received for calendar year 2010.


Data Submitted by Claimant and Reallocation of Bonus Earnings

                                                    2009 ‐ Bonus    2010 ‐ Bonus                                                                                                     2009 ‐ Bonus      2010 ‐ Bonus
                                                     Included in     Included in                        2009 ‐ No          2010 ‐ No                                                  Allocated to      Allocated to
                                                      Year Paid       Year Paid                          Bonus              Bonus                                                    Year Earned*     Year Earned**
  Regular Pay                                       $     61,500    $     47,250                      $    61,500        $    47,250                                                 $      61,500    $        47,250
  Total Bonuses Paid                                $       5,000   $       6,000                                                                                                    $        6,000   $            ‐
   Total Annual Earnings                            $     66,500    $     53,250                      $    61,500        $    47,250                                                 $      67,500    $        47,250

  Pay Period Earnings
   January                                          $      5,000    $      5,250                      $     5,000        $     5,250                                                 $       5,500    $         5,250



                                                                                    ‐‐Growth Rate‐‐




                                                                                                                                        ‐‐Growth Rate‐‐
   February                                         $      5,000    $      5,250                      $     5,000        $     5,250                                                 $       5,500    $         5,250
   March                                            $     10,000    $     11,250                      $     5,000        $     5,250                                                 $       5,500    $         5,250
   April                                            $      5,000    $      5,250                      $     5,000        $     5,250                                                 $       5,500    $         5,250
   May                                              $      5,000    $      5,250                      $     5,000        $     5,250                                                 $       5,500    $         5,250
   June                                             $      5,000    $      5,250                      $     5,000        $     5,250                                                 $       5,500    $         5,250
   July                                             $      5,250    $      5,250                      $     5,250        $     5,250                                                 $       5,750    $         5,250




                                                                                                                                                          ‐‐‐‐Benchmark Period‐‐‐‐




                                                                                                                                                                                                                        ‐‐Compensation Period‐‐
   August                                           $      5,250    $      5,250                      $     5,250        $     5,250                                                 $       5,750    $         5,250
   September                                        $      5,250    $      5,250                      $     5,250        $     5,250                                                 $       5,750    $         5,250
   October                                          $      5,250    $        ‐                        $     5,250        $       ‐                                                   $       5,750    $           ‐
   November                                         $      5,250    $        ‐                        $     5,250        $       ‐                                                   $       5,750    $           ‐
   December                                         $      5,250    $        ‐                        $     5,250        $       ‐                                                   $       5,750    $           ‐

Total Earnings                                      $     66,500    $     53,250                      $    61,500        $    47,250                                                 $      67,500    $        47,250



    * $6,000 bonus received in 2010 relates to 2009 performance and is therefore allocated evenly across the months of 2009.
    ** No bonus was received for calendar year 2010, so no bonus earnings are allocated to 2010.

Step 1: Claimant Selects Compensation Period & Base Year
    Claimant has selected July 1, 2010 through December 31, 2010 as the Compensation Period, and chosen 2009 as the Base Year.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period
    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length and dates corresponding to the Compensation Period.
    Given the selection in Step 1, the Benchmark Period earnings equal the earnings between July 1, 2009 and December 31, 2009, and are calculated as follows (inclusive
    of the allocated bonus):

    Benchmark Period Earnings (July 1‐Dec 31, 2009)                                                                      $    34,500

Step 3: Determine Earnings Growth Factor(s)
    The Claimant has provided pay period detail, and a Claimant Specific Growth Factor can be calculated using January through April earnings in 2010 and the Base Year
    (excluding any bonus amounts). Industry Growth Factor does not apply (Benchmark Period earnings are salaried).

                                                                                                        2009 ‐ No          2010 ‐ No
                                                                                                         Bonus              Bonus
    January ‐ April Earnings                                                                          $     20,000 [a]   $     21,000 [b]

    Calculated Claimant Specific Growth Factor                                                                                   5.0% [c]=([b]‐[a])/[a]
                               5.0% = ($21,000 ‐ $20,000)/$20,000
                                   [c] = ([b] ‐ [a]) / [a]
    Claimant Specific Growth Factor (max of +10%, min of ‐1.5%)                                                                  5.0% [d]




                                                                                                                                                                                                      028586
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Appendix A2
                                       Example of Compensation Calculation: Category I Individual with Bonus
Step 4: Calculate Expected Earnings
    Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable Growth Factors (from Step 3).

    Benchmark Period Earnings (from Step 2)                                                                 $     34,500 [e]

    Claimant Specific Growth Rate (if applicable from Step 3)                                                        5.0% = [d]

    Industry Growth Factor (if hourly, see Step 3)                                                                    n/a [f]

    Expected Earnings for the Compensation Period                                                           $     36,225 [g]=[e]*(1+[d]+[f])
                             $36,225 = $34,500 x (1 + 0.05 + 0)
                               [g] = [e] x (1 + [d] + [f])



Step 5: Determine Actual Earnings in the Compensation Period
    Actual Earnings in the claimant selected Compensation Period in this example includes all earnings between the period selected by the Claimant in Step 1, July 1, 2010
    through December 31, 2010.

    Actual Earnings (July 1‐December 31, 2010)                                                              $     15,750 [h]

Step 6: Determine Claimant Lost Earnings
    Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over the Compensation Period.

    Lost Earnings                                                                                           $     20,475 [i]=[g]‐[h]
        $20,475 = $36,225 ‐ $15,750
          [i]   =     [g] ‐ [h]


Step 7: Calculate Final Claimant Compensation
    Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium (Zone A Tourism= 2.5), then adjusted for any Employee‐
    Related Benefits Loss (assume $2,000), any Reimbursable Training & Search Costs (assume $500 each for training and search) and any Spill Related Payments
    (assume $3,000).

    Lost Earnings (Step 6)                                                                                  $     20,475 = [i]
  + Lost Earnings Multiplied by Other Industries RTP (2.5 in Zone A)                                        $     51,188 [j]=[i] x RTP
                          = $20,475 x 2 5
  + Employment Related Benefits Losses                                                                      $       2,000 Given above.
  + Reimbursable Training Costs                                                                             $         500 Given above.
  + Reimbursable Search Costs                                                                               $         500 Given above.
  ‐ Spill Related Payments                                                                                  $      (3,000) Given above.

    Final Claimant Compensation                                                                             $     71,663




                                                                                                                                                    028587
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Appendix A3
                               Example of Compensation Calculation: Category I Individual with Commissions

Category I Individual with Pay Period Earnings Documentation: In this example, the claimant has passed the causation requirements and provides Tax Information
Documents demonstrating annual earnings, and also provides Pay Period Earnings Documentation sufficient to establish monthly/pay period earnings, allowing for
the calculation of a Claimant Specific Growth Factor. This claimant was a worker at a resort in Zone A who received a salary plus quarterly commissions, and who
lost his job at the end of September 2010. Because the claimant is a salaried worker, no Industry Growth Factor is applicable.


Data Submitted by Claimant and Reallocation of Commission Earnings


                                                                         2010 ‐                                                                          2009 ‐            2010 ‐
                                                    2009 ‐           Commission                                                                       Commission        Commission
                                                  Commission          Included as                                                                     Allocated to      Allocated to
                                               Included as Paid           Paid                                                                      Period Earned*     Period Earned*
  Regular Pay                                   $       61,500       $     47,250        Regular Pay                                                $        61,500   $         47,250
  Commission Paid in:                                                                    Commission Related to:
     January                                    $        1,000       $      1,250            January‐March                                          $        1,250    $             1,500
     April                                      $        1,250       $      1,500            April‐June                                             $        1,250    $             1,500
     July                                       $        1,250       $      1,500            July‐October                                           $        1,250    $               ‐
     October                                    $        1,250       $        ‐              October‐December                                       $        1,250    $               ‐
  Total Commissions*                            $        4,750       $      4,250        Total Commissions*                                         $        5,000    $             3,000

   Total Annual Earnings                        $       66,250       $     51,500                                                                   $       66,500    $            50,250

  Pay Period Earnings
   January                                     $         6,000       $      6,500                                                                   $        5,417    $             5,750




                                                                                                                   ‐‐Growth Rate‐‐




                                                                                                                                                                                                  ‐‐Growth Rate‐‐
   February                                    $         5,000       $      5,250                                                                   $        5,417    $             5,750
   March                                       $         5,000       $      5,250                                                                   $        5,417    $             5,750
   April                                       $         6,250       $      6,750                                                                   $        5,417    $             5,750
   May                                         $         5,000       $      5,250                                                                   $        5,417    $             5,750
   June                                        $         5,000       $      5,250                                                                   $        5,417    $             5,750
   July                                        $         6,500       $      6,750                                                                   $        5,667    $             5,250




                                                                                                                                                                                            ‐‐Compensation Period‐‐
                                                                                                                         ‐‐‐‐Benchmark Period‐‐‐‐


   August                                      $         5,250       $      5,250                                                                   $        5,667    $             5,250
   September                                   $         5,250       $      5,250                                                                   $        5,667    $             5,250
   October                                     $         6,500       $        ‐                                                                     $        5,667    $               ‐
   November                                    $         5,250       $        ‐                                                                     $        5,667    $               ‐
   December                                    $         5,250       $        ‐                                                                     $        5,667    $               ‐

Total Earnings                                 $        66,250       $     51,500                                                                   $       66,500    $            50,250

  * Commissions were paid quarterly. Commissions paid in 2009 were $1,250 each. The commission paid in January related to October‐December 2008, the
    commission paid in April 2009 related to January‐March 2009, the commission paid in July 2009 related to April‐June 2009, and the commission paid in October
    2009 related to July through September 2009. Commissions paid in 2010 were also $1,500 each. The commission paid in January 2010 related to October‐
    December 2009, the commission paid in April 2010 related to January‐March 2010, and the commission paid in July 2010 related to April‐June 2010. The
    claimant was terminated in September 2010 and did not receive any additional commissions.



Step 1: Claimant Selects Compensation Period & Base Year
     Claimant has selected July 1, 2010 through December 31, 2010 as the Compensation Period, and chosen 2009 as the Base Year.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period
    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length and dates corresponding to the Compensation
    Period. Given the selection in Step 1, the Benchmark Period earnings equal the earnings between July 1, 2009 and December 31, 2009, and are calculated as
    follows (inclusive of the allocated commissions):

    Benchmark Period Earnings (July 1‐Dec 31, 2009)                                                                                                 $       34,000




                                                                                                                                                                          028588
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Appendix A3
                                  Example of Compensation Calculation: Category I Individual with Commissions

Step 3: Determine Earnings Growth Factor(s)
      The Claimant has provided pay period detail, and a Claimant Specific Growth Factor can be calculated using January through April earnings in 2010 and the Base
      Year (including commissions). Industry Growth Factor does not apply (Benchmark Period earnings are salaried).

                                                                                                                              2010 ‐
                                                                                               2009 ‐ Commission           Commission
                                                                                               Allocated to Period         Allocated to
                                                                                                    Earned*              Period Earned*
      January ‐ April Earnings                                                                 $           21,667 [a]    $        23,000 [b]

      Calculated Claimant Specific Growth Factor                                                                                     6.2% [c]=([b]‐[a])/[a]
                                 6.2% = ($23,000 ‐ $21,667)/$23,000
                                     [c] = ([b] ‐ [a]) / [a]

      Claimant Specific Growth Factor (max of +10%, min of ‐1.5%)                                                                    6.2% [d]

Step 4: Calculate Expected Earnings
     Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable Growth Factors (from Step 3).

      Benchmark Period Earnings (from Step 2)                                                                            $         34,000 [e]

      Claimant Specific Growth Rate (if applicable from Step 3)                                                                       6.2% = [d]

      Industry Growth Factor (if hourly, see Step 3)                                                                                   n/a [f]

      Expected Earnings for the Compensation Period                                                                      $         36,108 [g]=[e]*(1+[d]+[f])
                                 $36,092 = $34,000 x (1 + 0 062 + 0)
                                   [g] = [e] x (1 + [d] + [f])



Step 5: Determine Actual Earnings in the Compensation Period
     Actual Earnings in the claimant selected Compensation Period in this example includes all earnings between the period selected by the Claimant in Step 1, July
     1, 2010 through December 31, 2010.

      Actual Earnings (July 1‐December 31, 2010)                                                                         $         15,750 [h]

Step 6: Determine Claimant Lost Earnings
     Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over the Compensation Period.

      Lost Earnings                                                                                                      $         20,358 [i]=[g]‐[h]
          $20,342 = $36,092 ‐ $15,750
            [i]   =     [g] ‐ [h]


Step 7: Calculate Final Claimant Compensation
      Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium (Zone A Tourism= 2.5), then adjusted for any
      Employee‐Related Benefits Loss (assume $2,000), any Reimbursable Training & Search Costs (assume $500 each for training and search) and any Spill Related
      Payments (assume $3,000).

    Lost Earnings (Step 6)                                                                                               $         20,358 = [i]
  + Lost Earnings Multiplied by Other Industries RTP (2.5 in Zone A)                                                     $         50,895 [j]=[i] x RTP
                             = $20,342 x 2 5
  +   Employment Related Benefits Losses                                                                                 $          2,000 Given above.
  +   Reimbursable Training Costs                                                                                        $            500 Given above.
  +   Reimbursable Search Costs                                                                                          $            500 Given above.
  ‐   Spill Related Payments                                                                                             $         (3,000) Given above.

      Final Claimant Compensation                                                                                        $         71,253




                                                                                                                                                   028589
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Appendix B
                     Example of Compensation Calculation: Category I Individual (Salaried)

Category I Individual with Pay Period Earnings Documentation: In this example, the claimant has passed the causation requirements
and provides Tax Information Documents demonstrating annual earnings, and also provides Pay Period Earnings Documentation
sufficient to establish pay period earnings, allowing for the calculation of a Claimant Specific Growth Factor. This claimant was a
salaried worker at a manufacturing facility in Zone A paid monthly in 2009 who changed jobs and began being compensated using an
hourly wage for which he was paid twice monthly. Because the claimant was a salaried worker in the Benchmark Period, no Industry
Growth Factor is applicable.


Data Submitted by Claimant

                                                                                                                     2009                2010
  Annual Earnings per Tax Information Documents                                                                  $       61,500   $          45,950

  Pay Period Earnings (Period Ending...)
   January 15                                                                                                               -     $           2,600
   January 31                                                                                                    $        5,000   $           2,650
   February 15                                                                                                              -     $           2,550
   February 28                                                                                                   $        5,000   $           2,300
   March 15                                                                                                                 -     $           2,350
   March 31                                                                                                      $        5,000   $           2,550
   April 15                                                                                                                 -     $           2,600
   April 30                                                                                                      $        5,000   $           2,700
   May 15                                                                                                                   -     $           2,800
   May 31                                                                                                        $        5,000   $           2,850
   June 15                                                                                                                  -     $           2,900
   June 30                                                                                                       $        5,000   $           1,750




                                                                                                                                                      -------------Compensation Period--------------
                                                                ---------------Benchmark Period---------------




   July 15                                                                                                       $          -     $           1,400
   July 31                                                                                                       $        5,250   $           1,300
   August 15                                                                                                     $          -     $           1,200
   August 31                                                                                                     $        5,250   $           1,100
   September 15                                                                                                  $          -     $           1,200
   September 30                                                                                                  $        5,250   $           1,240
   October 15                                                                                                    $          -     $           1,320
   October 31                                                                                                    $        5,250   $           1,340
   November 15                                                                                                   $          -     $           1,250
   November 30                                                                                                   $        5,250   $           1,200
   December 15                                                                                                   $          -     $           1,300
   December 31                                                                                                   $        5,250   $           1,500

Total Earnings                                                                                                   $       61,500   $          45,950

Step 1: Claimant Selects Compensation Period & Base Year

    Claimant has selected June 15, 2010 through December 31, 2010 as the Compensation Period, and chosen 2009 as the Base Year.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period
    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length and dates as in the
    Compensation Period. Given the selection in Step 1, the Benchmark Period earnings equal the earnings between June 15, 2009
    and December 31, 2009, and are calculated as follows:

                         Earnings June 15-July 1, 2009            $                                                       2,500   (=$5,000 x 0.5 months)
                         Earnings July 1-December 31, 2009        $                                                      31,500   (=$5,250 x 6 months)
                                  Total Benchmark Period Earnings $                                                      34,000

Step 3: Determine Earnings Growth Factor(s)




                                                                                                                                                                                                       028590
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Appendix B
                      Example of Compensation Calculation: Category I Individual (Salaried)


    The Claimant has provided pay period detail, and a Claimant Specific Factor can be calculated using January through April earnings
    in 2010 and the Base Year. Industry Growth Factor does not apply as Benchmark Period earnings are salaried.

                                                                            2009                     2010
    January - April Earnings                                          $         20,000 [a] $             20,300 [b]

   Calculated Claimant Specific Growth Factor                                                               1.5% [c]=([b]-[a])/[a]
                        1.5% = ($20,300 - $20,000)/$20,000
                         [c] = ([b] - [a]) / [a]

   Selected Claimant Specific Growth Factor (max of +10%, min of -1.5%)                                     1.5% [d]

Step 4: Calculate Expected Earnings
    Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable Growth Factors (from Step
    3).

    Benchmark Period Earnings (from Step 2)                                                   $           34,000 [e]

    Claimant Specific Growth Rate (if applicable from Step 3)                                               1.5% = [d]

    Industry Growth Factor (if hourly, see Step 3)                                                            n/a [f]

     Expected Earnings for the Compensation Period                                            $           34,510 [g]=[e]*(1+[d]+[f])
                        $34,510 = $34,000 x (1 + 0.015 + 0)
                           [g] = [e] x (1 + [d] + [f])

Step 5: Determine Actual Earnings in the Compensation Period
    Actual Earnings in the claimant selected Compensation Period in this example includes all earnings in the 2010 period selected by
    the Claimant in Step 1, June 15, 2010 through December 31, 2010.

    Actual Earnings (June 15-December 31, 2010)                                               $          17,100 [h]

Step 6: Determine Claimant Lost Earnings
    Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over the Compensation
    Period.

    Lost Earnings (Step 4: Expected Earnings - Step 5: Actual Earnings)                       $           17,410 [i]=[g]-[h]
                          $17,410 = $34,510 - $17,100
                             [i] = [g] - [h]




                                                                                                                                     028591
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Appendix B
                     Example of Compensation Calculation: Category I Individual (Salaried)


Step 7: Calculate Final Claimant Compensation
    Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium (Zone A Other
    Industries= 1.5), then adjusted for any Employment-Related Benefits Losses (assume $2,000), any Reimbursable Training & Search
    Costs (assume none) and any Spill Related Payments (assume $3,000).

    Lost Earnings (Step 6)                                                                 $          17,410 [i]
  + Lost Earnings Multiplied by Other Industries RTP (1.5 in Zone A)                       $          26,115 [j]=[i] x RTP
  + Employment Related Benefits Losses                                                     $           2,000 Given above.
  + Reimbursable Training Costs                                                            $             -    Given above.
  + Reimbursable Search Costs                                                              $             -    Given above.
  - Spill Related Payments                                                                 $          (3,000) Given above.

  Final Claimant Compensation                                                              $          42,525




                                                                                                                             028592
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Appendix C1
                                  Example of Compensation Calculation:
                            Category I Individual (Multiple Hourly Claiming Jobs)

Category I Individual with Pay Period Earnings Documentation: In this example, the claimant has passed the causation
requirements and provides Tax Information Documents demonstrating annual earnings, and also provides Pay Period
Earnings Documentation sufficient to establish pay period earnings, allowing for the calculation of a Claimant Specific
Growth Factor. This claimant was an hourly worker with two Claiming Jobs: one Zone B construction job (Job 1) which paid
monthly and one Zone B restaurant job which paid twice monthly (Job 2). Because the claimant is an hourly wage worker, an
Industry Growth Factor is applicable.


Data Submitted by Claimant

                                                                                                            2009-Job 1   2009-Job 2   2010-Job 1   2010-Job 2
  Annual Earnings per Tax Info Docs                                                                         $   28,800   $   17,720   $   24,600   $   15,320

  Pay Period Earnings (Period Ending...)
   January 15                                                                                                      -     $     800           -     $     820
   January 31                                                                                               $    2,300   $     760    $    2,400   $     780
   February 15                                                                                                     -     $     680           -     $     660
   February 28                                                                                              $    2,350   $     660    $    2,450   $     700
   March 15                                                                                                        -     $     640           -     $     740
   March 31                                                                                                 $    2,130   $     700    $    2,600   $     800
   April 15                                                                                                        -     $     710           -     $     860
   April 30                                                                                                 $    2,220   $     730    $    2,300   $     860
   May 15                                                                                                          -     $     720           -     $     740




                                                                                                                                                                ---------------------Compensation Period---------------------
                                           -----------------------Benchmark Period-----------------------




   May 31                                                                                                   $    2,450   $     800    $    2,200   $     640
   June 15                                                                                                         -     $     820           -     $     600
   June 30                                                                                                  $    2,500   $     800    $    1,950   $     540
   July 15                                                                                                         -     $     840           -     $     560
   July 31                                                                                                  $    2,650   $     880    $    1,800   $     600
   August 15                                                                                                       -     $     780           -     $     560
   August 31                                                                                                $    2,700   $     770    $    1,800   $     600
   September 15                                                                                                    -     $     810           -     $     620
   September 30                                                                                             $    2,250   $     680    $    1,740   $     540
   October 15                                                                                                      -     $     660           -     $     520
   October 31                                                                                               $    2,350   $     640    $    1,660   $     480
   November 15                                                                                                     -     $     660           -     $     400
   November 30                                                                                              $    2,400   $     700    $    1,800   $     560
   December 15                                                                                                     -     $     680           -     $     500
   December 31                                                                                              $    2,500   $     800    $    1,900   $     640

Total Earnings                                                                                              $   28,800 $     17,720   $   24,600 $     15,320

Step 1: Claimant Selects Compensation Period & Base Year
    Claimant has selected May 15, 2010 through December 31, 2010 as the Compensation Period, and
    chosen 2009 as the Base Year.




                                                                                                                                                                                                                                028593
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Appendix C1
                                     Example of Compensation Calculation:
                               Category I Individual (Multiple Hourly Claiming Jobs)


Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period
    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length
    and dates corresponding to the Compensation Period. Given the selection in Step 1, the Benchmark
    Period earnings equal the earnings between May 15, 2009 and December 31, 2009, and are calculated as
    follows:
                                                                 Job 1              Job 2
    Earnings May 15-June 1, 2009                             $      1,225       $        800 (Job 1=$2,450 x 50%)
    Earnings June 1-December 31, 2009                        $     17,350       $     10,520
    Total Benchmark Period Earnings                          $     18,575       $     11,320

Step 3: Determine Earnings Growth Factor(s)

    The Claimant has provided Pay Period Earnings Documentation, and a Claimant Specific Growth Factor
    can be calculated using January through April earnings in 2010 and the Base Year. Industry Growth
    Factor (1.5%) applies as Benchmark Period earnings are paid hourly.

                                                  2009-Job 1  2009-Job 2        2010-Job 1  2010-Job 2
    January - April Earnings                     $     9,000 $     5,680 [a]   $     9,750 $     6,220 [b]

    Calculated Claimant Specific Growth Factor                                         8.3%          9.5% [c]=([b]-[a])/[a]
                        8.3% = ($9,750 - $9,000)/$9,000
                        9.5% = ($6,220 - $5,680)/$5,680
                        [c] = ([b] - [a]) / [a]

    Claimant Specific Growth Factor (max of +10%, min of -1.5%)                        8.3%          9.5% [d]



Step 4: Calculate Expected Earnings
    Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable Growth Factors
    (from Step 3).

                                                                                2010-Job 1  2010-Job 2
    Benchmark Period Earnings (from Step 2)                                    $    18,575 $    11,320 [e]

    Claimant Specific Growth Rate (if applicable from Step 3)                          8.3%          9.5% = [d]

    Industry Growth Factor (if hourly, see Step 3)                                     1.5%          1.5% [f]

    Expected Earnings for the Compensation Period                              $    20,402 $      12,566 [g]=[e]*(1+[d]+[f])
                       $20,402 = $18,575 x (1 + 0.083 + 0.015)
                       $12,566 = $11,320 x (1 + 0.095 + 0.015)
                          [g] = [e] x (1 + [d] + [f])




                                                                                                                              028594
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Appendix C1
                                  Example of Compensation Calculation:
                            Category I Individual (Multiple Hourly Claiming Jobs)


Step 5: Determine Actual Earnings in the Compensation Period

    Actual Earnings in the claimant selected Compensation Period in this example includes all earnings
    between the period selected by the Claimant in Step 1, May 15, 2010 through December 31, 2010.

    Actual Earnings (May 15-December 31, 2010)                                   $    13,750 $           8,360 [h]

Step 6: Determine Claimant Lost Earnings
    Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual
    Earnings (Step 5) over the Compensation Period.
                                                                                     Job 1      Job 2
    Lost Earnings                                                                $      6,652 $    4,206 [i]=[g]-[h]
       $6,652 = $20,402 - $13,750
       $4,206 = $12,566 - $8,360
          [i] = [g] - [h]

Step 7: Calculate Final Claimant Compensation

    Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer
    Premium (RTP Job 1= 1.25; Job 2= 2.5), then adjusted for any Employee-Related Benefits Loss (assume
    $2,000 for Job 1), any Reimbursable Training & Search Costs (assume $500 for each training and search)
    and any Spill Related Payments (assume $3,000).

                                                                                     Job 1          Job 2
    Lost Earnings (Step 6)                                                      $       6,652   $      4,206 [i]
  + Lost Earnings Multiplied by RTP (Job 1= 1.25; Job 2= 2.5)                   $       8,314   $     10,515 [j]=[i] x RTP
  + Employment Related Benefits Losses                                          $       2,000   $         -  [k]
                                                                                $      16,966   $     14,721 [l]=[i]+[j]+[k]

    Total Claimant Lost Earnings                                                                $     31,687 Total of [l]
  + Reimbursable Training Costs                                                                 $        500 Given above.
  + Reimbursable Search Costs                                                                   $        500 Given above.
  - Spill Related Payments                                                                      $     (3,000) Given above.

    Final Claimant Compensation                                                                 $     29,687




                                                                                                                               028595
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Appendix C2
                                          Example of Compensation Calculation:
            Category I Individual (Hourly Claiming Job and Multiple Sources of Compensation Period Income)


Category I Individual with Pay Period Earnings Documentation: In this example, the claimant has passed the causation requirements, provided Tax
Information Documents demonstrating annual earnings, and also provided Pay Period Earnings Documentation sufficient to establish pay period
earnings (allowing for the calculation of a Claimant Specific Growth Factor). This claimant is an hourly worker with one job meeting causation, a
Zone B construction job (Job 1) which paid monthly. After the DWH Spill, the claimant found a second hourly job at a restaurant in Zone C which also
pays monthly (Job 2). Because the claimant is an hourly wage worker, an Industry Growth Factor is applicable. To the extent the claimant found
new work to replace any hours lost due to or resulting from the DWH Spill, compensation for those replaced hours are included in Actual Earnings.


Data Submitted by Claimant

                                                                                    2009 - Job 1                       2010 - Job 1                         2010 - Job 2
  Annual Earnings per Tax Info Docs                                                             $ 8,920                                 $ 8,370                             $      525

                                                                                     Hourly         Total                   Hourly          Total             Hourly            Total
  Pay Period Earnings (Period Ending...)
                                                                              Hrs       Rate        Pay     Hrs             Rate            Pay     Hrs          Rate           Pay
   January 31                                                                  76   $      10   $     760         80    $          10   $     800     -                     $      -
   February 28                                                                 66   $      10   $     660         72    $          10   $     720     -                     $      -
   March 31                                                                    70   $      10   $     700         74    $          10   $     740     -                     $      -
   April 30                                                                    73   $      10   $     730         76    $          10   $     760     -                     $      -
   May 31                                                                      80   $      10   $     800         70    $          10   $     700      10    $          5   $       50




                                                                                                                                                                                         ------Compensation Period------
                                           --------Benchmark Period--------




   June 30                                                                     80   $      10   $     800         60    $          10   $     600      25    $          5   $      125
   July 31                                                                     88   $      10   $     880         75    $          10   $     750      20    $          5   $      100
   August 31                                                                   77   $      10   $     770         66    $          10   $     660      15    $          5   $       75
   September 30                                                                68   $      10   $     680         54    $          10   $     540      15    $          5   $       75
   October 31                                                                  64   $      10   $     640         60    $          10   $     600      20    $          5   $      100
   November 30                                                                 70   $      10   $     700         70    $          10   $     700     -                     $      -
   December 31                                                                 80   $      10   $     800         80    $          10   $     800     -                     $      -

Total Earnings & Hours                                                        892               $ 8,920       837                       $ 8,370       105                   $      525

Step 1: Claimant Selects Compensation Period & Base Year

    Claimant has selected May 1, 2010 through December 31, 2010 as the Compensation Period, and chosen 2009 as the Base Year.

Step 2: Determine Benchmark Period Earnings and Hours Corresponding to the Compensation Period
    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length and dates corresponding to the
    Compensation Period. Given the selection in Step 1, the Benchmark Period earnings equal the earnings between May 1, 2009 and December 31,
    2009, and are calculated as follows:
                                                                                                          Job 1
                                                                                                    Hrs        Earnings
    Benchmark Period Earnings (May 1 - Dec. 31, 2009)                                                  607 [a] $ 6,070 [b]




                                                                                                                                                                                                                       028596
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Step 3: Determine Earnings Growth Factor(s)
   The Claimant has provided Pay Period Earnings Documentation, and a Claimant Specific Growth Factor can be calculated using January through
   April earnings in 2010 and the Base Year. Industry Growth Factor (1.5%) applies as Benchmark Period earnings are paid hourly.

                                                                                 2009 - Job 1                2010 - Job 1
   January - April Earnings                                                       $ 2,850       [c]           $ 3,020 [d]

   Calculated Claimant Specific Growth Factor                                                                       6.0% [e] ([d]-[c])/[c]
                     6.0% = ($3,020 - $2,850)/$2,850
                       [e] = ([d] - [c]) / [c]

   Claimant Specific Growth Factor (max of +10%, min of -1.5%)                                                      6.0% [f]


Step 4: Calculate Expected Earnings

   Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable Growth Factors (from Step 3).

                                                                                                                Job 1
   Benchmark Period Earnings (see Step 2)                                                                      $ 6,070      [b]


   Claimant Specific Growth Rate (if applicable from Step 3)                                                        6.0% [f]

   Industry Growth Factor (if hourly, see Step 3)                                                                   1.5% [g]

   Expected Earnings for the Compensation Period                                                               $ 6,523 [h] [b]*(1+[f]+[g])
                     $6,523 = $6,070 x (1 + 0.06 + 0 015)
                         [h] = [b] x (1 + [f] + [g])

Step 5: Determine Actual Earnings in the Compensation Period


   Actual Earnings in the claimant selected Compensation Period in this example includes all earnings between the period selected by the Claimant
   in Step 1, May 1, 2010 through December 31, 2010. Earnings from Job 2 are only included to the extent they replace hours from Job 1.

   Actual Earnings - Job 1 (May 1 - December 31, 2010)                                                         $ 5,350 [i]

   Actual Earnings - Job 2 (May 1 - October 31, 2010)
   Hours Worked in Benchmark Period - Job 1 (May 1-Dec. 31, 2009)                                        607
   Hours Worked in Compensation Period - Job 1 (May 1-Dec. 31, 2010)                                     535
                       Decreased Hours In Claiming Job                                                    72 [j]

   Hours Worked in Compensation Period - Job 2 (May 1-Dec. 31, 2010)                                     105
   Hours Worked in Benchmark Period - Job 2 (May 1-Dec. 31, 2009)                                        -
                    Increased Hours Worked                                                               105 [k]

   Redirected Hours (lesser of [j] and [k])                                                               72 [l]
   Average Compensation Period Wage Rate in the non-Claiming Job                                 $      5.00 [m]
   (= Total Compensation Period Earnings/Total Compensation Period Hours= $525/105)
                        Job 2 Actual Earnings to Include                                                       $     360 [n] [l] x [m]
                                            $360 = 72 x $5 00
                                             [n] = [l] x [m]

   Total Actual Earnings                                                                                       $ 5,710 [o] [i] + [n]
                      $5,710 = $5,350 + $360
                         [o] = [i] + [n]




                                                                                                                                                    028597
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Step 6: Determine Claimant Lost Earnings

   Claimant Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over the Compensation Period.

   Lost Earnings                                                                                              $     813 [p] [h]-[o]
                      $813 = $6,523 - $5,710
                       [p] = [h] - [o]

Step 7: Calculate Final Claimant Compensation



   Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium (RTP Job 1= 1.25), then adjusted for
   any Employee-Related Benefits Loss (assume $2,000 for Job 1), any Reimbursable Training & Search Costs (assume $500 for each training and
   search) and any Spill Related Payments (assume $1,000).

   Lost Earnings (Step 6)                                                                                     $   813 [i]
 + Lost Earnings Multiplied by RTP (Job 1= 1.25)                                                              $ 1,016 [j] [i] x RTP
 + Employment Related Benefits Losses                                                                         $ 2,000 [k]
                                                                                                              $ 3,830 [l] [i]+[j]+[k]

   Total Claimant Lost Earnings                                                                               $ 3,830 Total of [l]
 + Reimbursable Training Costs                                                                                $    500 Given above.
 + Reimbursable Search Costs                                                                                  $    500 Given above.
 - Spill Related Payments                                                                                     $ (1,000) Given above.

   Final Claimant Compensation                                                                                $ 3,830




                                                                                                                                                    028598
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Appendix D
               Example of Compensation Calculation: Category II Individual


Category II Individual with detailed Pay Period Earnings Documentation: In this example, the claimant has
passed the causation requirements but provided incomplete Pay Period Earnings Documentation insufficient
to calculate a Claimant Specific Growth Factor. This claimant is an hourly worker at a factory in Zone C in
both periods, and an Industry Growth Factor is therefore applicable. Because the Claimant is missing
information for certain pay periods in the Base Year and has not provided total annual earnings for the Base
Year, the Compensation Period and Benchmark Period may not include those pay periods. If the claimant
provided total annual earnings for the Base Year (2009), the earnings for April 30th and August 15th could be
derived from the annual data by subtracting the sum of the Pay Period Earnings Documentation data
provided from total annual earnings. If appropriate, the claimant could then have considered alternative
Compensation Periods that included the April 30th and August 15th pay periods.



Data Submitted by Claimant

                                                                                            2009            2010
Annual Earnings per Tax Information Documents                                             Not Given       Not Given

Pay Period Earnings (Period Ending...)
 January 15                                                                           $      2,200    $        2,250
 January 31                                                                           $      2,250    $        2,300
 February 15                                                                          $      2,200    $        2,200
 February 28                                                                          $      2,100    $        2,150
 March 15                                                                             $      2,200    $        2,200
 March 31                                                                             $      2,300    $        2,400
 April 15                                                                             $      2,300    $        2,250
 April 30                                                                               Not Given     $        2,500
 May 15                                                                               $      2,500    $        1,750
                                                                                                                       --Compensation Period--
                                                           ----Benchmark Period----




 May 31                                                                               $      2,525    $        1,400
 June 15                                                                              $      2,600    $        1,300
 June 30                                                                              $      2,500    $        1,200
 July 15                                                                              $      2,650    $        1,100
 July 31                                                                              $      2,725    $        1,200
 August 15                                                                              Not Given     $        1,240
 August 31                                                                            $      2,550    $        1,320
 September 15                                                                         $      2,500    $        1,340
 September 30                                                                         $      2,400    $        1,250
 October 15                                                                           $      2,300    $        1,200
 October 31                                                                           $      2,325    $        1,300

Total Pay Period Earnings Provided                                                    $      43,125   $      33,850




                                                                                                                                                 028599
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Appendix D
                Example of Compensation Calculation: Category II Individual

Step 1: Claimant Selects Compensation Period & Base Year
  Claimant has selected May 1, 2010 through July 31, 2010 as the Compensation Period, and
  has chosen 2009 as the Base Year.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period

  Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length
  and dates corresponding to the Compensation Period. Given the selection in Step 1, the Benchmark Period
  earnings equal the earnings between May 1, 2009 and July 31, 2009, and are calculated as follows:

                        Earnings May 1-July 31, 2009           $    15,500

Step 3: Determine Earnings Growth Factor(s)
  The claimant has provided pay period detail, but insufficient to calculate a Claimant Specific Growth Factor
  due to the missing periods and the absence of annual earnings documentation. The General Growth Factor
  (2%) will therefore apply, and an Industry Growth Factor (1.5%) will apply because the claimant is an hourly
  worker.

                                                                   2009                2010
  January - April Earnings                                         N/A       [a]       N/A         [b]

  Calculated Claimant Specific Growth Factor                                           N/A         [c]=([b]-[a])/[a]


  General Growth Factor                                                                    2.0% [d]

Step 4: Calculate Expected Earnings
  Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable
  Growth Factors (from Step 3).

  Benchmark Period Earnings (from Step 2)                                          $    15,500 [e]

  General Growth Rate (if applicable from Step 3)                                            2.0% [d]

  Industry Growth Factor (if hourly, see Step 3)                                             1.5% [f]

  Expected Earnings for the Compensation Period                                    $    16,043 [g]=[e]*(1+[d]+[f])
                      $16,043 = $15,500 x (1 + 0.02 + 0.015)
                          [g] =   [e] x (1+ [d] + [f])




                                                                                                                       028600
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Appendix D
               Example of Compensation Calculation: Category II Individual

Step 5: Determine Actual Earnings in the Compensation Period

  Actual Earnings in the claimant selected Compensation Period in this example includes all earnings
  between the Compensation Period selected by the claimant in Step 1, May 1, 2010 through July 31, 2010.

  Actual Earnings (May 1-July 31, 2010)                                          $      7,950 [h]

Step 6: Determine Claimant Lost Earnings
  Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5)
  over the Compensation Period.

  Lost Earnings                                                                  $      8,093 [i]=[g]-[h]
    $8,093 = $16,043 - $7,950
       [i] = [g] - [h]

Step 7: Calculate Final Claimant Compensation
  Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium
  (Zone C Other Industries= 0.25), then adjusted for any Employee-Related Benefits Loss (assume $2,000),
  any Reimbursable Training & Search Costs (assume $500 each for training and search) and any Spill Related
  Payments (assume $3,000).

  Lost Earnings (Step 6)                                                         $      8,093 [i]
+ Lost Earnings Multiplied by Other Industries RTP (0.25 in Zone C)              $      2,023 [j]=[i] x RTP
+ Employment Related Benefits Losses                                             $      2,000 Given above.
+ Reimbursable Training Costs                                                    $        500 Given above.
+ Reimbursable Search Costs                                                      $        500 Given above.
- Spill Related Payments                                                         $     (3,000) Given above.

  Final Claimant Compensation                                                    $     10,116




                                                                                                              028601
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Appendix E
                               Example of Compensation Calculation:
                         Category III Individual - New Entrant to Employment


Category III Individual - New Entrant to Employment: In this example, the claimant has passed the causation
requirements and accepted, as of April 20, 2010, a first-time offer of employment in Zone A in the Tourism category
that was rescinded due to or resulting from the DWH Spill. The claimant procures employment in January 2011 and
provides information sufficient to establish monthly pay period earnings. This claimant is considered a New Entrant to
Employment and 2011 earnings adjusted downward by the General Growth Factor will be used in lieu of Benchmark
Period earnings. Because the claimant is a salaried worker, no Industry Growth Factor is applicable.



Data Submitted by Claimant

                                                                                              2010           2011
  Annual Earnings per Tax Information Documents                                           $          -   $      55,200

  Pay Period Earnings
   January                                                                                $          -   $       4,600
   February                                                                               $          -   $       4,600
   March                                                                                  $          -   $       4,600
   April                                                                                  $          -   $       4,600
                                                          -----Compensation Period-----




                                                                                                                         -------Benchmark Period-------
   May                                                                                    $          -   $       4,600
   June                                                                                   $          -   $       4,600
   July                                                                                   $          -   $       4,600
   August                                                                                 $          -   $       4,600
   September                                                                              $          -   $       4,600
   October                                                                                $          -   $       4,600
   November                                                                               $          -   $       4,600
   December                                                                               $          -   $       4,600

Total Earnings                                                                            $          -   $      55,200

Step 1: Claimant Selects Compensation Period & Base Year
    Claimant has selected May 1, 2010 through December 31, 2010 as the Compensation Period, and 2011 is the Base
    Year as claimant is a New Entrant to Employment.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period

    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length and
    dates corresponding to the Compensation Period. Given the selection in Step 1, the Benchmark Period earnings
    equal the earnings between May 1, 2011 and December 31, 2011, and is calculated as follows:

                         Earnings May 1-December 31, 2011                                                $      36,800 [a]




                                                                                                                                                          028602
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Appendix E
                               Example of Compensation Calculation:
                         Category III Individual - New Entrant to Employment

Step 3: Determine Earnings Growth Factor(s)
  Because the claimant is a New Entrant to Employment, Benchmark Period earnings are discounted back to 2010
  using agreed upon Growth Factors. The General Growth Rate of 2.0% is applied, but since claimant is a salaried
  worker no Industry Growth Factor is applied.

Step 4: Calculate Expected Earnings
  Expected Earnings equals Benchmark Period earnings (calculated in Step 2) decreased back to 2010 levels using the
  applicable Growth Factors (from Step 3).

    Benchmark Period Earnings (from Step 2)                                        $         36,800 = [a]

    Reduce 2011 Earnings by General Growth Factor (from Step 3)                                -2.0% [b]

    Reduce 2011 Earnings by Industry Growth Factor (from Step 3)                                 n/a [c]

     Expected Earnings for the Compensation Period                                 $         36,064 [d]=[a]*(1+[b]+[c])
                        $36,064 = $36,800 x (1 - 0.02 + 0)
                           [d] =    [a] x (1 + [b] + [c])

Step 5: Determine Actual Earnings in the Compensation Period
  Actual Earnings in the claimant selected Compensation Period in this example includes all earnings between the
  period selected by the claimant in Step 1, May 1, 2010 through December 31, 2010.

    Actual Earnings (May 1 -December 31, 2010)                                     $             -    [e]


Step 6: Determine Claimant Lost Earnings
  Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over the
  Compensation Period.

    Lost Earnings                                                                  $         36,064 [f]=[d]-[e]
                         $36,064 = $36,064 - 0
                           [f] = [d] - [e]




                                                                                                                   028603
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Appendix E
                               Example of Compensation Calculation:
                         Category III Individual - New Entrant to Employment

Step 7: Calculate Final Claimant Compensation
  Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium (Zone A
  Tourism= 2.5 RTP), then adjusted for any Employee-Related Benefits Loss (assume $2,000), any Reimbursable
  Training & Search Costs (assume $500 each for training and search) and any Spill Related Payments (assume
  $3,000).

  Lost Earnings (Step 6)                                                        $        36,064 =[f]
+ Lost Earnings Multiplied by Tourism RTP (2.5 in Zone A)                       $        90,160 [g]=[f] x RTP
+ Employment Related Benefits Losses                                            $         2,000 Given above.
+ Reimbursable Training Costs                                                   $           500 Given above.
+ Reimbursable Search Costs                                                     $           500 Given above.
- Spill Related Payments                                                        $        (3,000) Given above.

 Final Claimant Compensation                                                    $      126,224




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Appendix F
                            Example of Compensation Calculation:
                            Category III Individual - Career Changer

Category III Individual - Career Changer: In this example, the claimant has passed the causation
requirements and provides Tax Information Documents demonstrating annual earnings, and also provides
Pay Period Earnings Documentation sufficient to establish monthly/pay period earnings. The Individual
switched jobs at the end of 2009 and was employed in Zone B Tourism in 2010, and the Claimant Specific
Growth Factor exceeded 20%, so this claimant is considered a Career Changer and 2011 earnings adjusted
downward by the General Growth Factor will be used in lieu of a Benchmark Period. Because the claimant is
a salaried worker, no Industry Growth Factor is applicable.


Data Submitted by Claim

                                                           2009                                     2010           2011
 Annual Earnings per Tax Information Documents        $      36,000                             $     22,500   $     55,200

 Pay Period Earnings
  January                                             $       3,000                             $      4,500   $      4,600
  February                                            $       3,000                             $      4,500   $      4,600
  March                                               $       3,000                             $      4,500   $      4,600
  April                                               $       3,000                             $      4,500   $      4,600
  May                                                 $       3,000                             $      4,500   $      4,600
                                                                      --Compensation Period--




                                                                                                                              ----Benchmark Period----
  June                                                $       3,000                             $        -     $      4,600
  July                                                $       3,000                             $        -     $      4,600
  August                                              $       3,000                             $        -     $      4,600
  September                                           $       3,000                             $        -     $      4,600
  October                                             $       3,000                             $        -     $      4,600
  November                                            $       3,000                             $        -     $      4,600
  December                                            $       3,000                             $        -     $      4,600

Total Earnings                                        $      36,000                             $     22,500   $     55,200

Step 1: Claimant Selects Compensation Period & Base Year
   Claimant selects June 1, 2010 through December 31, 2010 as the Compensation Period, and 2011 is the
   Base Year for calculating Expected Earnings because claimant is a Career Changer.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period

  Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length
  and dates corresponding to the Compensation Period. Given the selection in Step 1, the Benchmark
  Period earnings equal the earnings between June 1, 2011 and December 31, 2011:

                       Earnings June 1-December 31, 2011                                        $     32,200

Step 3: Determine Earnings Growth Factor(s)




                                                                                                                         028605
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Appendix F
                              Example of Compensation Calculation:
                              Category III Individual - Career Changer
 As illustrated below, the claimant's income changed by more than 20%, and, therefore, the claimant is a
 Career Changer, and the General Growth Factor (2%) applies. Since claimant is a salaried worker no Industry
 Growth Factor is applied.

  Determination of Claimant Specific Growth Factor
                                                               2009                 2010
  January - April Earnings                                $      12,000 [a] $         18,000         [b]

  Calculated Claimant Specific Growth Factor                                            50.0%        [c]=([b]-[a])/[a]
                      50.0% = ($18,000 - $12,000) / $12,000
                       [c] = ( [b] - [a] ) / [a]

  General Growth Factor                                                                   2.0%       [d]
      (Claimant earnings changed by more than 20%, therefore, 2011 becomes Base Year and growth rate defaults to
                                           General Growth Factor of 2%.)

Step 4: Calculate Expected Earnings
  Expected Earnings equals Benchmark Period earnings (calculated in Step 2) decreased back to 2010 levels
  using the applicable Growth Factors (from Step 3).

  2011 Benchmark Period Earnings                                               $       32,200 [e]

  Reduce 2011 Earnings by General Growth Factor (from Step 3)                            -2.0% [d]

  Reduce 2011 Earnings by Industry Growth Factor (from Step 3)                             n/a [f]

    Expected Earnings for the Compensation Period                              $       31,556 [g]=[e]*(1+[d]+[f])
                       $31,556 = $32,200 x (1 - 0.02 + 0)
                          [g] =    [e] x (1 - [d] + [f])

Step 5: Determine Actual Earnings in the Compensation Period
  Actual Earnings in the claimant selected Compensation Period in this example includes all earnings between
  the period selected by the claimant in Step 1, June 1, 2010 through December 31, 2010.

  Actual Earnings (June-December 2010)                                         $           -     [h]




                                                                                                                         028606
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Appendix F
                             Example of Compensation Calculation:
                             Category III Individual - Career Changer

Step 6: Determine Claimant Lost Earnings
  Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over
  the Compensation Period.

 Lost Earnings                                                             $      31,556 [i]=[g]-[h]
                        $31,556 = $31,556 - 0
                           [i] = [g] - [h]

Step 7: Calculate Final Claimant Compensation
 Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium
 (Zone B Tourism= 2.0 RTP), then adjusted for any Employee-Related Benefits Loss (assume $2,000), any
 Reimbursable Training & Search Costs (assume $500 each for training and search) and any Spill Related
 Payments (assume $3,000).

  Lost Earnings (Step 6)                                                   $      31,556 =[i]
+ Lost Earnings Multiplied by Tourism RTP (2.0 in Zone B)                  $      63,112 [j]=[i] x RTP
+ Employment Related Benefits Losses                                       $       2,000 Given above.
+ Reimbursable Training Costs                                              $         500 Given above.
+ Reimbursable Search Costs                                                $         500 Given above.
- Spill Related Payments                                                   $      (3,000) Given above.

 Final Claimant Compensation                                               $      94,668




                                                                                                           028607
